          Case 2:20-cv-01066-CG Document 5 Filed 10/19/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

ANGELA WILSON,

                    Plaintiff,

v.                                                            No. CV 20-1066 CG

ANDREW M. SAUL,
Commissioner of the
Social Security Administration,

                    Defendant.

                  ORDER GRANTING APPLICATION TO PROCEED
                  IN FORMA PAUPERIS AND DIRECTING SERVICE

      THIS MATTER is before the Court on Plaintiff Angela Wilson’s Application to

Proceed in District Court without Prepaying Fees or Costs (the “Motion”), (Doc. 2), filed

October 16, 2020. The Court, having considered the Motion, finds that it is well-taken

and should be GRANTED.

      IT IS HEREBY ORDERED that this action is authorized to proceed without the

prepayment of the filing fee, costs, or security therefore, pursuant to 28 U.S.C. § 1915.

      IT IS FURTHER ORDERED that the United States Marshal shall serve a copy of

the Summons and Complaint on the United States Attorney, the Attorney General, and

the Office of the General Counsel, in accordance with Fed. R. Civ. P. 4(c)(3).

      IT IS SO ORDERED.



                                  _________________________________
                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
